AO 470 (Rev. 01/09) Order Scheduling a Detention Hearing



                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           Northern District of Iowa


            UNITED STATES OF AMERICA,                                  )
                       v.                                              )        No.    22-cr-1039-CJW-2
                                                                       )
                   CODY LYN DEMAIO,                                    )
                            Defendant.                                 )
                       ORDER OF TEMPORARY DETENTION AND SCHEDULING A HEARING


                    ☐Preliminary Hearing

                    ☒Detention Hearing

                    ☐Bond Revocation Hearing

          United States District Courthouse
Place:                                                                             Before Judge: Mark A. Roberts
          111 7th Avenue SE
          Courtroom 4, 4th Floor
          Cedar Rapids, Iowa 52401                                               Date and Time: March 7, 2023 at 1:30 p.m.


        IT IS ORDERED: Pending the hearing, the defendant is to be detained in the custody of the United States
marshal or any other authorized officer. The custodian must bring the defendant to the hearing at the time, date, and
place set forth above.




Date:        March 2, 2023
                                                                                                Judge’s signature


                                                                                               Mark A. Roberts
                                                                                        United States Magistrate Judge
                                                                                              Printed name and title




                 Case 2:22-cr-01039-CJW-MAR Document 29 Filed 03/02/23 Page 1 of 1
